
*103OPINION.
Lansdon :
The single issue in this proceeding is the determination of the fair market value or price of the land in question at March 1, 1913. To support their valuation of $75 per acre the petitioners introduced four witnesses, all of whom testified that they were familiar with lands and land values in the locality at the basic date.
W. O. Collins, one of the petitioners, testified that he had farmed the land, was familiar with land values in that neighborhood, and that in his opinion the tract was worth not less than $75 per acre at March 1, 1913. The second witness, the cashier of a bank in a nearby town, presented no testimony of any probative value.
R. Y. Williams, farmer and farm owner and for many years a judge of the Superior Court of Orange County, California, testified that he had owned section 9, township 23, range 23, for many years, that such section was located two miles east of the Collins’ property, to which it is similar in soil and other attributes, and'that it is similarly located on the main irrigation ditch that supplies water for agricultural purposes in that district. In October, 1912, he sold 340 acres of his section for $80 per acre, which, in his opinion, was the fair market value of the Collins’ tract at that date and at March 1, 1913. George H. Smith testified that some time in 1913 he bought 40 acres of land near the Collins’ property which was similar to that tract in soil, and that he paid $80 per acre therefor, *104which, in his opinion, was the value of the tract in question at March 1,1913.
The Commissioner introduced no evidence, either in support of his valuation of the tract in question at $40 per acre on March 1, 1913, or in rebuttal of the testimony of the petitioners’ witnesses, which was not weakened or discredited by cross examination. We are of the opinion that the land involved in this proceeding had a fair market value of $75 per acre at March 1, 1913. There is no evidence of record to inform us whether the additional capital investment of $2,344.41 asserted by the petitioners was made before or after March 1, 1913, and therefore we exclude such amount from the cost of the property.
Judgment will lye entered on W days’ notice, v/nder Bule 60.
